      Case 4:05-cr-00061-BRW          Document 215        Filed 07/17/15     Page 1 of 1




                      IN THE UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF ARKANSAS
                                WESTERN DIVISION

UNITED STATES OF AMERICA

VS.                                  4:05-CR-00061-03-BRW

TONY ALLEN PRICE

                                              ORDER

       After considerable reflection I have decided that Mr. Price’s Motion for Early

Termination of Supervised Release (Doc. No. 212) should be granted. Accordingly, the Order

entered July 15, 2015 (Doc. No. 214) is vacated and set aside; Mr. Price’s Motion is GRANTED;

and Mr. Price is released from supervision.

       IT IS SO ORDERED this 17th day of July, 2015.



                                                     /s/ Billy Roy Wilson
                                                    UNITED STATES DISTRICT JUDGE




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